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EXHIBIT 4

Bank Regulation, Banking & Fin. Services

Pol’y Rep., Dec. 2016

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BANK REGULATION

Fed Moves to Tighten Post-Employment Restrictions

A change in Federal Reserve Board policy will more than double the number of Federal Reserve Bank (FRBank)
employees who are subject to post-employment restrictions, according to the Fed. About 250 employees will be covered,
up from the current number of approximately 100. Also, a new policy will ban former FR Bank officers from representing
private parties before Fed employees and ban FRBank employees from discussing official business with former officers
for one year.

According to the ch, the policies apply to two groups of former employecs:

(1) Individuals who acted as senior examiners for a depository institution or holding company for two
months or longer during their last 12 months as a Federal Reserve Bank employee; and

(2) any Fed examiner or supervision staff member who accepts a job with a depository institution or holding
company he examined in that final lZ-month term.

The revised senior examiner policy will take effect Jan. 2, 2017, and the restriction on former officers will take effect
Dec. 5, 2016, the Fed said.

Senior Examiner

The broader coverage comes about due to a change in who is considered to be a senior examiner Currently, the
post-employment restrictions apply generally to individuals thought of as “central points of contact," or CPCs. The
restrictions are being expanded to deputy CPCs. senior supervisory officers (SSOs), deputy SSOs, enterprise risk officers,
and supervisory team leaders. Functional|y, these would be individuals who:

' Were authorized to conduct examinations or inspections for the Fed;

’ Had “continuing, broad, and lead responsibility"’ for examining or inspecting a single institution, affiliated
group of institutions, or holding company;

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- Performed examinations, inspections, or supervision as a substantial part of their assigned duties; and

' Routine|y interacted with the company's employees or officers

Vi`alarions

lf` a former employee violates the one-year ban1 the Fed is required to seek an order prohibiting the individual from
participating in the industry for up to five years, a civil penalty of up to $250,000. or both. However, the Fed chairman
has the authority to waive the restriction.

The FRBanks are to review examiners' duties regularly and notify an examiner if a change in her job duties would make
her a senior examiner who is covered by the rule or remove her from that status.

Confh'cts oflnteresr

The Fed also has a policy designed to uncover possible conflicts of interest. If any examiner--even an individual not
considered to be a senior examiner-- takes ajob with a company he examined in the 12 months before leaving the Fed.
the FRBank is to review all of his work papers for any indication that the upcoming change in employment might have
compromised any examination findings or supervisory proceedings

Minneapolis Fed Issues Plan to End ‘Too Big to Fail’

The Federal Reserve Bank of Minneapolis has released a plan that sets forth a policy solution intended to enable the US
economy to flourish without exposing it to large risks of financial crises and taxpayer bailouts. The “Minneapolis Plan”
is the culmination of an initiative launched by Reserve Bank President Neel Kashkari in February 2016 that sought to
create an actionable plan to end the problem of too-big-to-fail (TBTF) banks.

*37 The plan envisions four steps that Kashkari believes would strengthen the financial system:

(l) Dramatically increase common equity capital for banks with assets exceeding $250 billion, which would
substantially reduce the chance of public bailouts relative to current regulations from 6? percent to 39
percent.

(2) Cal| on the Secretary of the Treasury to certify that individual large banks are no longer systemically
important or else subject those banks to extraordinary increases in capital requirements~-up to 38 percent
over time. This level of capital reduces the 100-year chance of a crisis to 9 percent.

(3) Prevent future TBTF problems in the shadow financial sector by imposing a tax on the borrowings of
shadow banks with assets ofrnore than 550 billion. This tax rate would apply to shadow banks that are not

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systemical|y important as certified by the Treasury Secretary. A tax rate equal to 2.2 percent would apply
to the shadow banks that the Treasury Secretary refuses to certify as not systemically importantl

(4) Reduce the unnecessary regulatory burden on community banks while maintaining regulators' ability
to identify and address bank risk-taking that threatens solvency.

Reduci'ng Ri'sks

Coinmenting on the plan. Kashkari stated, “Wc believe the Minneapolis Plan does a much better job of reducing risks \
at reasonable costs to society than current regulations Ultimately, the public needs to make their own determination.
We hope this process will equip them with the data and analyses they need to make an informed judgment.”

The Minneapo|is Fed is also seeking comments on specific questions regarding the plan. Comments must be received
within 60 days.

How Much Cnntrol Do Cnnsumers Have Over Financial Records?

The Consumer Financial Protection Bureau (CFPB) has asked consumers for their input on difficulties accessing, using,
and securely sharing their financial records. The bureau also wants to know how much choice consumers have in the use
of their records how secure it is for them to share their records, and the amount of control they have over their records

The CFPB said its goal is to foster an environment in which competing providers can securely obtain, with the consumer's
permission, the information needed to deliver innovative products and services that will benefit consumers

“The technology around digital financial records continues to develop, and so far there are many unanswered questions
about how the infonnation is being shared, by and to whom, and how safely," CFPB Director Richard Cordray said in
prepared remarks for a field hearing on consumer access to financial records “As with any emerging industry. we are
hearing about some bumps in the road. FinTech companies and financial institutions, as well as consumer groups, are
describing to us the various challenges, risks, and technological obstacles to further progress in this area.”

Request for Informatian

The bureau is seeking public comment through a Request for information to better understand the consumer benefits
and risks associated with market developments that rely on access to consumer financial account and account-related
information. Specifically, the CFPB is seeking information from consumers on:

- Whether consumers are being given appropriate opportunities to access and allow others to securely access
their personal financial records and what business burdens must be addressed to facilitate access and use
offinancial records;

- What options consumers are given for ensuring that financial records are securely obtained, stored, and
used; and

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' What information consumers are given about how their records will be accessed and used and to what
extent consumers are able to control how the information will be used by companies

B[og Pos!

In a post to its blog, the bureau asked consumers to share their stories on the difficulties they face when accessing and
sharing their financial records with other financial companies lf consumers are using products or services that access
their financial records stored by another company, the CFPB wants to know about their *38 experiences Consumers
can comment on Facebook or 'I`witter` but those who want to provide more details can share their stories via the bureau's
Web site.

The CFPB's notice appeared at 81 Fen'eral Regi'.r.ter 83806 on Nov. 22, 2016.

OCC Seeks Comments on Stress Test Reporting Revisions

The Office of the Comptroller of the Currency (OCC), as part of its continuing effort to reduce paperwork and respondent
burden, has requested comments on revisions to its regulatory reporting requirement for national banks and federal
savings associations Comments on the reporting requirement, “Company~Run Annual Stress Test Reporting Template
and Documentation for Covered Institutions with Total Consolidated Assets of 350 Billion or More under the Dodd-
Frank Wall Street Reform and Consumer Protection Act,” must be received by .Tan. 17, 2017.

The Dodd-Frank Act requires certain financial companies to conduct annual stress tests and requires the primary
financial regulatory agency of those financial companies to issue regulations implementing the stress test requirements
On Oct. 9, 2012. the OCC published in the Federnl Regi'ster a final rule implementing the annual stress test requirement
This rule describes the reports and information collections required to meet the reporting requirements

Purpose vae vision

According to the notice, the OCC intends to use the data collected to assess the reasonableness of the stress test results
of covered institutions and to provide forward-looking information to the OCC regarding a covered institution's capital
adequacy. The OCC also may use the results of the stress tests to determine whether additional analytical techniques and
exercises could be appropriate to identify. measure, and monitor risks at the covered institution The stress test results
are expected to support ongoing improvement in a covered institution's stress testing practices with respect to its internal
assessments of capital adequacy and overall capital planning

Minimi'zing the Burden

The OCC recognized that many of the institutions that are also required to comply with Federal Reserve Board reporting
requirements use form FR Y-14A. The OCC has expressed its intent to keep its reporting requirements consistent with
FR Y-l4A in order to minimize the burden on covered institutions

Revisi'oris

The proposed revisions to the OCC reporting templates consist of the following:

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- Adding line items to the Regulatory Capilal lnstruments schedule;

' Updating the Summary schedule to collect items related to the supplementary leverage ratio;

' Removing and adding sub-schedules to the Operational Risk schedule;

~ Creating a new supplemental schedule to collect certain items not included in the Fed's FR Y-I4A;

- Requiring a bank-specific scenario--covered institutions would be required to submit bank-specific
baseline and stress scenarios; and

' Requiring the assumption of largest counterparty default. The largest trading covered institutions that
also submit the Global Market Shocl< scenario would be required to assume the default of their largest
counterparty in the supervisory severely adverse and adverse scenarios

The OCC's notice appeared at ill chercii Regr'ster 807| 7 on Nov. 16, 2016.

OCC Seeks Comments on Volcker Rule Reporting, Disclosure

The Office of the Comptroller of the Currency has issued a notice seeking comments on various reporting, recordkeeping1
and disclosure requirements associated with its regulations that implemented the Volcker Rule. The Volcker Rule,
contained in Section 619 of the Dodd-Frank Act (12 U.S.C. §1851), prohibits or restricts certain types of proprietary
trading or investment fund activities conducted by “banking cntities" and nonbank financial companies supervised by
the Federal Reserve Board.

Among other things the OCC is seeking comments on:

- Whether the information sought is necessary for the OCC to perform its supervisory functions;

' The accuracy of the OCC's estimate of the information collection burden;

*39 ~ Ways to enhance the quality, utility, and clarity of the information to be collected while also
minimizing the collection burdens on respondents; and

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' Estimates of capital or start-up costs and costs of operation, maintenance, and purchase of services to
provide the information

Comments on the OCC's notice are due by .lan. 17, 20l 7.

FDIC Adopts Deposit Recerdkeeping for Big Banks

At its Nov. 15. 20|6, meeting, the Federal Deposit lnsurance Corporation (FDIC) adopted a final rule that is intended
to facilitate the rapid payment of insured deposits to customers if an FDlC-insured institution with a large number of
deposit accounts were to fail. The final rule requires that insured depository institutions with more than two million
deposit accounts maintain complete and accurate data on each depositor and ensure that their information technology
systems are capable of calculating the amount of insured money for most depositors within 24 hours of a failure. The
FDIC anticipates the final rule will take effect on April l, 20|7.

Aceording to the FDlC. the rule would currently apply to 38 institutions The institutions would have three years to
develop the recordkeeping and IT systems required for compliance

The FDIC is required to provide depositors with access to their insured accounts as soon as possible after an institution
fails While the funds are typically available by the next business day, for a bank with a large number of deposit accounts
in which records are unclear or incomplete, the payments might be delayed, the FDIC said.

Final Ruie

Under the final rule, insured depository institutions with more than two million deposit accounts must configure their
lT systems to be capable of accurately calculating the deposit insurance available for each deposit account in accordance
with the FDIC's deposit insurance rules should the covered institutions fail.

Under the final rule's general recordkeeping requirements a covered institution will need to ensure that its deposit
account records contain the information needed for its lT system to be able to calculate deposit insurance coverage for
those deposit accounts for which it already maintains the necessary information

A covered institution should1 in the normal course of business already maintain in its deposit account records the
information necessary to do this for single ownership accounts; joint ownership accounts; accounts held by a corporation,
partnership, or unincorporated association for themselves; informal revocable trust (i'.e., “payable-on-death" or “in-
trust-for") accounts; and any account of an irrevocable trust for which the covered institution itself is the trustee.

With respect to certain types of deposit accounts for which a covered institution is not currently required to maintain
in its deposit account records the necessary information, the covered institution may meet alternative recordkeeping
requirements as long as the covered institution maintains in its deposit account records certain information that will
facilitate the FDIC's prompt collection of the information needed.

The alternative recordkeeping requirements would apply to deposit accounts insured on a "pass-through" basis (such
as brokered deposits) because beneficial owner information is not maintained by the covered institutioni and to deposit
accounts for which the amount of insurance is dependent on additional facts (such as deposit accounts held in connection
with a trust).

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FinCEN Must Improve Case Management Procedures, says O[G

The Treasury Department's Office of Inspector General (OIG) has concluded that the Financial Crimcs Enforcement
Network (FinCEN) must do a betterjob of documenting and tracking its enforcement actions involving civil money
penalties (CMPs) for violations of the Bank Secrecy Act (BSA). As a result. the O[G recommended that FinCEN
take several steps to identify and address deficiencies in its case management procedures FinCEN concurred with the
recommendations and responded that it has implemented a new enforcement organization and made improvements to
its policies and procedures since the audited period--ZOOS through 2014.

FinCEN is responsible for the overall administration and enforcement of the BSA. Although it delegates *40 BSA
compliance examination authority to other federal regulators, FinCEN retains enforcement authority1 including the
authority to impose CMPs for violations_

FinCEN investigates potential BSA violations or deficiencies referred by federal and state regulators1 as well as
those referred by its own Enforcement Division. After investigating a BSA case referral, FinCEN determines which
enforcement action to pursue, if any. FinCEN typically resolves a case in one of three ways: (l) sending a warning letter
to the violator; (2) assessing a CMP; or (3) taking no action. During the period 2008 through 20|4, FinCEN assessed
32 CMPs totaling $l.l9 billion.

New Imelligence Repasr'tory

According to the report, in June 2013, FinCEN underwent a reorganization and implemented the Financial Intelligence
Repository (FIR) to share information (including case inforrnation) across all FinCEN Divisions. Although there were
known performance issues, FinCEN's Enforcement Division replaced its legacy Case Management System with FIR.
Due to the performance issues and limited staffing, FinCEN could not track backlogged CMP cases. including cases in
danger of exceeding their statute of limitationsl

FinCEN officials reported that they became aware of the CMP case backlog; however, they could not categorize cases
as backlogged or otherwise age them in FIR.

Incompt'ete Files, No Proeedures

The OIG also found that the CMP case files lacked full documentation and approvals as required by FinCEN's policies
and procedures Of the 21 case files the OIG reviewed, 19 lacked one or more documents required by FinCEN‘s policies
and procedures. including referrals from regulators. enforcement memoranda, or rationale for changing recommended
CMP amounts

In addition. the OIG found that FinCEN also failed to have standards for determining penalty amounts in consideration
of aggravating and mitigating factors, and in some cases FinCEN did not document thc rationale for assessed penalty
amounts. During the OlG investigation, FinCEN officials provided the OIG with interim draft penalty procedures--
dated September 20l 5.

01 G Recommendatr'ans
Speeifically, the OIG recommends that FinCEN:

(l) Ensure FIR performance deficiencies are identified and resolved;

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(2) Review open FIR case records to ensure the accuracy and completeness of the data recorded;

(3) Require key relevant case infomiation to be entered into FlR so that FinCEN can monitor areas such
as the CMP case backlog and CMP cases approaching the SOL;

(4) Continue to refine the interim enforcement procedures currently used by FinCEN to, among other
things, provide guidance for the consideration of aggravating and mitigating factors in CMP assessments,
documentation requirements for CMP assessments, and provisions for proper segregation of duties,
including supervisory reviews; and

(5) Develop and implement a process to periodically notify federal and state regulators of the status of and
action taken on referred cases.

Response

FinCEN responded that case processing and documentation are important elements of its broad enforcement program.
FinCEN also stated that in conjunction with its 2013 reorganization it implemented a new enforcement organization
and made improvements to its policies and procedures. The OIG conceded that the scope of its audit included a number
of years prior to the 2013 FinCEN reorganization

GAO Report: Congress Should Set Objectives, Transition Plan for GSEs

In reviewing the Federal Housing Finance Agency‘s (FHFA) role as conservator of Fannie Mae and Freddie Mae
and looking toward the future, the Government Accountability Office (GAO) has issued a report recommending
that Congress provide legislation setting clear objectives for the government-sponsored enterprises and establishing a
transition plan for their exiting conservatorship The November 2016 report examines the extent to which the FHFA's
goals for the conservatorship of Fannie Mae and Freddie Mac have changed over the years. Further, the GAO's report
evaluates the implications of the FHFA's actions for the future of the enterprises as well as for the broader secondary
mortgage market.

*4| Findr'ngs

In connection with the FHFA's respective 2012 and 2014 strategic plans for the conservatorship of the enterprises, the
GAO report found that the main goals of the 2014 strategic plan were "broadly similar" to the 2012 strategic plan
However, the FHFA “changed the weight and wording of the goals” in the 2014 plan l‘to align the plan more closely
with FHFA's statutory responsibilities." More specifically, the FHFA's 2014 strategic plan: (l) increased its emphasis
on maintaining credit availability and foreclosure prevention options; (2) shifted away from shrinking the enterprises as
a way to reduce taxpayer risk and, instead, focused on transferring credit risk to private investors; and (3) reduced the
scope of the securitization infrastructure being built.

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On the whole. although the FHFA established goals for the Fannie Mae and Freddie Mae conservatorships_ the goals
“have been somewhat in tension with each other," the report found. In addition, some of the actions taken by the FHFA
to implement its goals "have lacked a consistent direction over time_” and the FHFA “has not clarified how to balance
different priorities.“

According to the GAO's report, an "absence of congressional direction" influenced the FHFA's shift in priorities.
Moreover, the shift "has altered market participants perceptions and expectations about the enterprises' ongoing
role and added to uncertainty about the future structure of the housing finance system.” Because Congress “has not
established objectives for the future of the enterprises after conservatorships or the federal role in housing linance.
FHFA's ability to shift priorities may continue to contribute to market uncertainty,” the report asserts.

Notably, the FHFA agreed with the GAO's “overall lindings,” the report states.

Recommendan'ons

Based on its findings, the GAO recommends that Congress “consider legislation that would establish clear objectives
and a transition plan to a reformed housing finance system that enables the enterprises to exit conservatorship." From
the GAO's perspective, by setting “a clear direction for the future of the housing finance system,” Congress would enable
the FHFA “to use the conservatorships of the enterprises to facilitate the transition to a new structure.”

Ease Servieememher Access to Student Loan Rate Cap, GAO says

The Government Accountability Office (GAO) has issued a report on the implementation of the 6 percent interest-rate
cap that servicemembers are entitled to receive for student loans when they are on active duty under the Servicemembers
Civil Relief Act (SCRA). The GAO review evaluates: the number of servicemembers who received the cap for student
loans; challenges that servicemembers face in doing so; and the extent to which federal agencies oversee implementation
of the cap. The report1 delivered to the Senate Committee on Homeland Security and Governmental Affairs, is titled
Student Loans.' Oversr`ght ofServicemembers' fnterest Rate Crtp Cout'd Be Strengthened.

The number of servicemembers receiving the SCRA interest rate cap for their student loans has greatly increased since
student loan servicers began using an automatic eligibility check to identify those who are eligible, according to the GAO.
However, according to the report. challenges still exist1 including:

- inaccurate SCRA information from the Department of Defense;

- Private loan servicers are not required to use the automatic eligibility check to identify eligible
servicemembers; and

- No routine oversight of SCRA compliance exists for nonbank private student loan lenders and servicers.

To address these issues, GAO suggested that the Department of Justice (DOJ) update its proposed SCRA changes by
requiring private loan servicers to use the automatic eligibility check to identify eligible borrowers. This could lead to
legislative action that would provide consistent treatment for all eligible servicemembers regardless of type of student

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loan The report also highlighted an issue with the Department of Education's new borrower complaint system, which
lacks the ability to track SCRA complaints systematically “Without a systematic way to track complaints about the
rate cap, Education will not be certain whether servicemembers continue to experience problems, making it difficult for
Education to meet its strategic goal of providing superior service,” stated the report.

*42 Recommendations
The GAO made four recommendations to address the challenges it identified.

(l) The Secretary of Defense should direct the secretaries of each service branch to ensure that
all information about the SCRA interest rate cap for student loans is accurate when provided to
servicemembers and to those who work with servicemcmbers to help them obtain SCRA benefits, including
information contained in outreach materials

(2) The Attorney General should direct the Department of Justice to consider modifying its proposed
changes to SCRA to require use of the automatic eligibility check for private student loans.

(3) The Office of Federal Student Aid should identify ways to modify the data collected in its unified
borrower complaint system to allow the agency to more precisely identify and analyze complaints
specifically about the SCRA interest rate cap.

(4) The director of the Consumer Financial Protection Bureau (CFPB) and the Attorney General should
coordinate with each other, and with the four federal financial regulators, as appropriate, to determine the
best way to ensure routine oversight of SCRA compliance for all nonbank private student loan lenders and
servicers.

The report further noted that if the CFPB and DOJ determine that additional statutory authority is needed to facilitate
such oversight, CFPB and DOJ should develop a legislative proposal for Congress.

Agency Response

The GAO provided a draft copy of the report to the Departments of Dcfense, Education, Justice, the CFPB, and the four
federal financial regulators for review and comment, reporting that technical comments provided by federal financial
regulators have been incorporated into the report as appropriate.

The Department ofDefense disagreed with the GAO recommendationl saying it was unnecessary because the department
was already providing accurate information about the SCRA interest rate cap for student loans. The department said
that "information provided in 6 of the 8 documents GAO reviewed is accurately based on statute whereas Education's
updated requirement to automatically apply the cap is based on policy which could change in the future.”

The Department of Education said it is committed to accurately tracking the types of complaints it receives, and that its
new feedback system and monitoring efforts allow it to identify SCRA-related issues by conducting keyword searches

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using a variety of terms. However, the agency said that it will respond to GAO's recommendation by creating a complaint
subcategory specifically for SCRA under the “Military and Veterans Benefits” category.

GAO responded to this by stating "As we point out in this report, one of the challenges with Education's keyword search
process is that it may miss relevant loan complaints where SCRA is not specifically mentioned."

In its written comments, the CFPB did not specifically agree or disagree with the recommendation to provide oversight
of SCRA compliance among nonbank private lenders and servicers, but acknowledged that it shares GAO's interest in
maximizing SCRA protections And the DOJ neither agreed nor disagreed with the second recommendation and agreed
with the fourth recommendation

OCC Agrees to Assess Suspicious Activity Report Enforcement Program

The Office of the Comptroller of the Currency agreed to assess its Suspicious Activity Reports (SARS) Fast Track
Enforcement Program as recommended by the 'l`reasury Department’s Office of Inspector General. OCC's Fast Track
implements “streamlined enforcement” procedures by using information from SARs, cxaminations, alerts, or other
sources to pursue prohibitions of bank insiders from working in a financial institution, when institution-affiliated parties
commit criminal acts or acts of significant wrongdoing involving banks.

The report found that Fast Track was not as efficient in pursuing prohibitions as it could be because the staffing model
limited the number of cases Fast Track could process. The OIG recommended that OCC assess Fast Track to determine
whether the program‘s effectiveness could be increased with a review of program goals, requirementsq performance
results, staffing levels. and training needs.

*43 The OCC pursues enforcement actions against current or fenner bank employees for which there is evidence
of wrongdoing dishonesty, a breach of trust, or money laundering The OIG found OCC`s examination procedures
reasonably address the prevention and detection of criminal activities by bank insiders if performed as warranted during
ongoing safety and soundness examinations.

Although the OCC's SAR Fast Track database provides opportunities for OCC enforcement actions, the OIG said that
Fast Track could make a larger impact by processing more cases to ban unethical bank insiders from working in the
banking industry.

Footnotes

al
The Monitor is an agenda of matters of interest to the financial services industry. The Monitor includcs: (1) regulatory and
related matters on which comment periods are open; (2) important regulatory initiatives that are still pending and under active
consideration; (3) recent regulatory matters of continued urgency to the financial services community; and (4) cases pending
before the US Supreme Court and other federal and state courts All cases arc listed by subject. Unlcss otherwise noted, this
issue of The Monitor covers developments during the period Oet. 20, 2016, through Nov. 20, 2016.

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